     Case 12-42907         Doc 35     Filed 06/21/17 Entered 06/21/17 23:52:35                        Desc Imaged
                                      Certificate of Notice Page 1 of 4

                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF MINNESOTA


In re:

Christopher Eric Johnson

6900 − 148th Lane
Ramsey, MN 55303

Social security/Taxpayer ID/Employer ID/Other Nos.: xxx−xx−8721
                                                                                              Case No: 12−42907 − MER
Rachal Jean Johnson

6900 − 148th Lane
Ramsey, MN 55303

Social security/Taxpayer ID/Employer ID/Other Nos.: xxx−xx−1419

Debtor(s)                                                                                                  Chapter 13 Case

                                  DISCHARGE OF CHAPTER 13 DEBTOR(S)

It appears that the debtors in the above case duly filed a petition commencing this case under Title 11 of the United
States Code on 5/15/12, that an order for relief was entered under Chapter 13, that a plan was filed by the debtor(s)
and confirmed by the court, that the trustee has reported or the court has determined that the debtor(s) has completed
all payments under the plan.

IT IS ORDERED:

1. Discharge: The debtors in the above case are discharged from all debts dischargeable under 11 U.S.C. § 1328(a).
2. Judgments: Any judgment heretofore or hereafter obtained in any court other than this court is void under 11
U.S.C. § 524(a)(1) to the extent that such judgment is a determination of the personal liability of the debtor(s) with
respect to any debt discharged or any debt determined by this court to be discharged by this order.
3. Injunction: All creditors are enjoined under 11 U.S.C. § 524(a)(2) from the commencement or continuation of an
action, the employment of process, or any act to collect, recover or offset any such debt discharged or judgment
voided as a personal liability of the debtor(s).
4. Notice: Discharge Hearing The clerk shall provide notice of this order as notice thereof to all creditors and other
parties in interest. A hearing for the debtor(s) under 11 U.S.C. § 524(d) regarding the discharge and postpetition
agreements will be held on motion of the debtor(s) or other party in interest.
5. Property: All property of the estate(s) is vested in the debtor(s) under applicable rules and 11 U.S.C. § 1327(b).

Dated: 6/19/17                                             Michael E Ridgway
                                                           United States Bankruptcy Judge


                                                            NOTICE OF ENTRY AND FILING ORDER OR JUDGMENT
                                                            Filed and docket entry made on June 19, 2017
                                                            Lori Vosejpka Clerk, United States Bankruptcy Court
                                                            By: lynne Deputy Clerk


dsc13 05/30/2013 − pb
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page 2 dsc13 05/30/2013 − pb


                                 EXPLANATION OF BANKRUPTCY DISCHARGE
                                         IN A CHAPTER 13 CASE

This court order grants a discharge to the persons named as the debtors after the debtors have completed all payments
under the chapter 13 plan. It is not a dismissal of the case and it does not determine how much money, if any, the
trustee will pay to creditors.
Collection of Discharged Debts Prohibited
The discharge prohibits any attempt to collect from the debtors a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtors. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against the
debtors' property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

The chapter 13 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but not
all, types of debts are discharged if the debt is provided for by the chapter 13 plan or is disallowed by the court
pursuant to section 502 of the Bankruptcy Code.

Debts that are Not Discharged.

     Some of the common types of debts which are not discharged in a chapter 13 bankruptcy case are:

     a. Domestic support obligations;

     b. Debts for most student loans;

     c. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

     d. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
     while intoxicated;
     e. Debts for restitution, or damages, awarded in a civil action against the debtor as a result of malicious or
     willful injury by the debtor that caused personal injury to an individual or the death of an individual (in a case
     filed on or after October 17, 2005);

     f. Debts provided for under section 1322(b)(5) of the Bankruptcy Code and on which the last payment is due
     after the date on which the final payment under the plan was due;

     g. Debts for certain consumer purchases made after the bankruptcy case was filed if prior approval by the
     trustee of the debtor's incurring the debt was practicable but was not obtained;
     h. Debts for certain taxes to the extent not paid in full under the plan (in a case filed on or after October 17,
     2005); and

     i. Some debts which were not properly listed by the debtor (in a case filed on or after October 17, 2005).


This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
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                                      United States Bankruptcy Court
                                          District of Minnesota
In re:                                                                                 Case No. 12-42907-MER
Christopher Eric Johnson                                                               Chapter 13
Rachal Jean Johnson
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 0864-4          User: lynne                  Page 1 of 2                   Date Rcvd: Jun 19, 2017
                              Form ID: 13dsc               Total Noticed: 47


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 21, 2017.
db/jdb         +Christopher Eric Johnson,    Rachal Jean Johnson,    6900 - 148th Lane,    Ramsey, MN 55303-4689
smg            +United States Attorney,    600 US Courthouse,    300 S 4th St,    Minneapolis, MN 55415-3070
intp           +FORD MOTOR CREDIT COMPANY LLC,    C/O STEWART ZLIMEN & JUNGERS LTD.,
                 2277 HIGHWAY 36 WEST STE 100,    ROSEVILLE, MN 55113-3896
intp           +U.S. Bank National Association,    4500 Park Glen Road,    Suite 300,
                 St. Louis Park, MN 55416-4891
59878455        CITIBANK,   PO BOX 6494,    SIOUX FALLS SD 57117-6494
59878457       +COLLECTCORP CORPORATION,    PO BOX 10198,    DEPT 4947A,   BIRMINGHAM AL 35202
59878460        FIRST NATIONAL BANK OF OMAHA,    PO BOX 3331,    OMAHA NE 68103-0331
59878459        FIRST NATIONAL BANK OF OMAHA,    PO BOX 2951,    OMAHA NE 68103-2951
59878462        FORD MOTOR CREDIT CO,    PO BOX 59001,    MINNEAPOLIS MN 55459-0001
59899001       +First National Bank of Omaha,    1620 Dodge Street Stop Code 3105,     Omaha Ne 68197-0002
59878465       +GREEN TREE SERVICING LLC,    3012 BUSINESS PARK CIR STE 100,     GOODLETTSVILLE TN 37072-3189
59878467        GREENTREE MORTGAGE,   153 N JOHNSON ST,     NEWBORN GA 30056-2304
59878473       +UNITED COLLECTION BUREAU INC,    PO BOX 140310,    TOLEDO OH 43614-0310
59878472       +UNITED COLLECTION BUREAU INC,    5620 SOUTHWYCK BLVD #206,     TOLEDO OH 43614-1501
59878474        US BANK,   4811 FREDERICH ST,    OWENSBORO KY 42301
60696677        eCAST Settlement Corporation,    PO BOX 28136,    NEW YORK NY 10087-8136

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +EDI: MINNDEPREV.COM Jun 19 2017 21:23:00       Minnesota Department of Revenue,
                 Bankruptcy Section,   PO Box 64447,    St Paul, MN 55164-0447
smg            +E-mail/Text: ustpregion12.mn.ecf@usdoj.gov Jun 19 2017 21:29:20        US Trustee,
                 1015 US Courthouse,   300 S 4th St,    Minneapolis, MN 55415-3070
cr             +EDI: BASSASSOC.COM Jun 19 2017 21:23:00       eCAST Settlement Corporation,
                 c/o Bass & Associates, P.C.,   3936 E Ft. Lowell, Suite 200,      TUCSON, AZ 85712-1083
59945995       +EDI: OPHSUBSID.COM Jun 19 2017 21:23:00       BACK BOWL I LLC, SERIES C,
                 C O WEINSTEIN AND RILEY, PS,   2001 WESTERN AVENUE, STE 400,      SEATTLE, WA 98121-3132
59878453        EDI: BANKAMER2.COM Jun 19 2017 21:23:00       BANK OF AMERICA,    PO BOX 15027,
                 WILMINGTON DE 19850-5102
59922452        EDI: BANKAMER2.COM Jun 19 2017 21:23:00       FIA CARD SERVICES, N.A.,    PO Box 15102,
                 Wilmington, DE 19886-5102
59878456        EDI: CITICORP.COM Jun 19 2017 21:23:00      CITICARDS,    PROCESSING CENTER,
                 DES MOINES IA 50363-0001
59878454        EDI: CITICORP.COM Jun 19 2017 21:23:00      CITIBANK,    PO BOX 6001,    THE LAKES NV 88901-6001
60006416       +EDI: BASSASSOC.COM Jun 19 2017 21:23:00       Capital One, N.A.,    c/o Bass & Associates, P.C.,
                 3936 E. Ft. Lowell Road, Suite #200,    Tucson, AZ 85712-1083
59878458       +EDI: COLLECTCORP.COM Jun 19 2017 21:23:00       FIA CARD SERVICES NA,
                 C/O COLLECTCORP CORPORATION,   455 NORTH 3RD ST STE 260,      PHOENIX AZ 85004-3937
59878461       +EDI: FORD.COM Jun 19 2017 21:23:00      FORD,    PO BOX 94380,    PALATINE IL 60094-4380
59878463        EDI: FORD.COM Jun 19 2017 21:23:00      FORD MOTOR CREDIT CO,     PO BOX 542000,
                 OMAHA NE 68154-8000
59887236        EDI: FORD.COM Jun 19 2017 21:23:00      Ford Motor Credit Company LLC,     Dept 55953,
                 P O Box 55000,   Detroit MI 48255-0953
60480457        EDI: RMSC.COM Jun 19 2017 21:23:00      GE Capital Retail Bank,
                 c/o Recovery Management Systems Corp.,    25 S.E. 2nd Avenue, Suite 1120,
                 Miami, FL 33131-1605
59878464        E-mail/Text: bankruptcy.bnc@ditech.com Jun 19 2017 21:29:23        GREEN TREE,   PO BOX 6172,
                 RAPID CITY SD 57709-6172
59878468        E-mail/Text: bankruptcy.bnc@ditech.com Jun 19 2017 21:29:23        GREENTREE MORTGAGE,
                 PO BOX 94710,   PALATINE IL 60094-4710
59878466        E-mail/Text: bankruptcy.bnc@ditech.com Jun 19 2017 21:29:23        GREENTREE BANKRUPTCY DEPT,
                 PO BOX 6154,   RAPID CITY SD 57709
59903925        E-mail/Text: bankruptcy.bnc@ditech.com Jun 19 2017 21:29:23        Green Tree Servicing LLC,
                 PO BOX 6154,   Rapid City, SD 57709-6154,     telephone #: 888-298-7785
59903926       +E-mail/Text: bankruptcy.bnc@ditech.com Jun 19 2017 21:29:23        Green Tree Servicing LLC,
                 PO BOX 0049,   Palatine, IL 60055-0049,    telephone 60055-0049
59878469        EDI: HFC.COM Jun 19 2017 21:23:00      HSBC RETAIL SERVICES,     PO BOX 5238,
                 CAROL STREAM IL 60197-5238
59878470        EDI: HFC.COM Jun 19 2017 21:23:00      HSBC RETAIL SERVICES/BEST BUY,     PO BOX 5244,
                 CAROL STREAM IL 60197-5244
59878471       +EDI: LEADINGEDGE.COM Jun 19 2017 21:23:00       LEADING EDGE,    RECOVERY SOLUTIONS,
                 5440 N CUMBERLAND AVE STE 300,    CHICAGO IL 60656-1486
60034153       +EDI: OPHSUBSID.COM Jun 19 2017 21:23:00       Oak Harbor Capital VI, LLC,
                 c/o Weinstein & Riley, P.S.,   2001 Western Ave., Ste. 400,      Seattle, WA 98121-3132
59878475        EDI: USBANKARS.COM Jun 19 2017 21:23:00       US BANK,   PO BOX 790408,
                 SAINT LOUIS MO 63179-0408
59908056        EDI: USBANKARS.COM Jun 19 2017 21:23:00       US BANK N.A.,    BANKRUPTCY DEPARTMENT,
                 P.O. BOX 5229,   CINCINNATI, OH 45201-5229
59878476        EDI: WFFC.COM Jun 19 2017 21:23:00      WELLS FARGO BANK, NA,     PO BOX 54780,
                 LOS ANGELES CA 90054-0780
59878480       +EDI: WFFC.COM Jun 19 2017 21:23:00      WELLS FARGO CARD SERVICES,     PO BOX 30086,
                 LOS ANGELES CA 90030-0086
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District/off: 0864-4                  User: lynne                        Page 2 of 2                          Date Rcvd: Jun 19, 2017
                                      Form ID: 13dsc                     Total Noticed: 47


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
59878479        EDI: WFFC.COM Jun 19 2017 21:23:00     WELLS FARGO CARD SERVICES,   PO BOX 10347,
                 DES MOINES IA 50306-0347
59878478        EDI: WFFC.COM Jun 19 2017 21:23:00     WELLS FARGO CARD SERVICES,   PO BOX 6412,
                 CAROL STREAM IL 60197-6412
60035801        EDI: WFFC.COM Jun 19 2017 21:23:00     Wells Fargo Bank NA,   PO Box 10438,
                 Des Moines, IA 50306-0438
59887570       +EDI: WFFC.COM Jun 19 2017 21:23:00     Wells Fargo Card Services,   1 Home Campus,    3rd Floor,
                 Des Moines, IA 50328-0001
                                                                                            TOTAL: 31

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr                U.S. Bank National Association ND
cr*              +Oak Harbor Capital VI, LLC,    c/o Weinstein & Riley, P.S.,   2001 Western Ave., Ste. 400,
                   Seattle, WA 98121-3132
cr*              +U.S. Bank National Association,    4500 Park Glen Road,   Suite 300,
                   St. Louis Park, MN 55416-4891
59895267*       ++US BANK,   PO BOX 5229,   CINCINNATI OH 45201-5229
                 (address filed with court: US Bank,     Bankruptcy Department,   205 West 4th Street,
                   cn-oh-x5-fi,   Cincinnati, Ohio 45202)
59878477       ##+WELLS FARGO BANK, NA,   CORPORATE SERVICE COMPANY,    380 JACKSON ST #700,
                   SAINT PAUL MN 55101-4809
                                                                                               TOTALS: 1, * 3, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 21, 2017                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 19, 2017 at the address(es) listed below:
              Bradley J. Halberstadt   on behalf of Interested Party   FORD MOTOR CREDIT COMPANY LLC
               bankruptcy@szjlaw.com
              Craig W. Andresen   on behalf of Debtor 1 Christopher Eric Johnson craig@andresenlaw.com,
               erica@andresenlaw.com;admin@cwalaw.com;office@andresenlaw.com
              Craig W. Andresen   on behalf of Debtor 2 Rachal Jean Johnson craig@andresenlaw.com,
               erica@andresenlaw.com;admin@cwalaw.com;office@andresenlaw.com
              Gregory A Burrell   cmecfjzkmn@ch13mn.com
              Gregory A Burrell   on behalf of Trustee Gregory A Burrell cmecfjzkmn@ch13mn.com
              Jessica L. Blanner   on behalf of Interested Party   U.S. Bank National Association
               jessica@uwllaw.com, alysa@uwllaw.com;maria@uwllaw.com;jenni@uwllaw.com;kevin@uwllaw.com
              Jessica L. Blanner   on behalf of Creditor   U.S. Bank National Association jessica@uwllaw.com,
               alysa@uwllaw.com;maria@uwllaw.com;jenni@uwllaw.com;kevin@uwllaw.com
              Kenneth J Johnson   on behalf of Creditor   U.S. Bank National Association ND
               ken@johnsonblumberg.com, bkecfnotices@johnsonblumberg.com
              US Trustee   ustpregion12.mn.ecf@usdoj.gov
                                                                                            TOTAL: 9
